Case 6:09-cr-00009-JCB-KNM           Document 906        Filed 09/02/16     Page 1 of 1 PageID #:
                                            2979



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

  UNITED STATES OF AMERICA                        §
                                                  §
                                                  §            CASE NO. 6:09CR9-3
                                                  §
  vs.                                             §
                                                  §
                                                  §
                                                  §
  JUAN PRIETO RETANO                              §
                                                  §

                  ORDER ADOPTING REPORT AND RECOMMENDATION
                      OF UNITED STATES MAGISTRATE JUDGE


          The above-entitled and numbered criminal action was referred to a United States

 Magistrate Judge in accordance with 28 U.S.C. § 636(b)(3). The Report and Recommendation

 on Revocation of Supervised Release, filed on August 23, 2016, has been presented for

 consideration.    The parties waived any objections to the Report and Recommendation.

 Defendant consented to the revocation of his supervised release and waived his right to be

 present and speak at sentencing.

          The Court is of the opinion that the findings and conclusions of the Magistrate Judge are

 correct. Therefore, the Court hereby adopts the Report and Recommendation on Revocation of

 Supervised Release as the findings and conclusions of the Court.


 So Ordered and Signed
 Sep 2, 2016
